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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ALICIA BONILLA, HECTOR LEONARDO                                                              9/28/2022
MARTINEZ, DOMINGO MORALES CABRERA,
and FERMIN FABIAN TREVIÑ,

                                                Plaintiffs,                        22-CV-153 (PAE) (KHP)

                             -against-                                                    ORDER

LUCERO PRODUCE II CORP. and
SAUL LUCERO,
                                                 Defendants.
-----------------------------------------------------------------X
KATHARINE H. PARKER, United States Magistrate Judge:

         As discussed at the case management conference on September 28, 2022, fact and

expert discovery are extended to January 13, 2023. The parties shall file a joint status letter via

ECF by October 28, 2022.

                   SO ORDERED.

DATED:             New York, New York
                   September 28, 2022

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
